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                     IN THE UNITED STATES DISTRICT COURT


                    FOR THE SOUTHERN DISTRICT OF GEORGIA

                                AUGUSTA DIVISION


DANNY R. BENNETT,

             Plaintiff,

      V.                                             CV 123-162


WARDEN,Augusta State Medical Prison;
DEPUTY WARDEN PASCHAL; and
SERGEANT JACKSON,

             Defendants.




                                      ORDER



      After a careful, de novo review of the file, the Court concurs with the Magistrate

Judge's Report and Recommendation, to which no objections have been filed. Accordingly,

the Court ADOPTS the Report and Recommendation of the Magistrate Judge as its opinion,

DISMISSES this case without prejudice, and CLOSES this civil action.

      SO ORDERED this /f9^day of January, 2024, at Augusta, Georgia.


                                        J. RANDAL HALK CHIEF JUDGE
                                        UNITED STATES DISTRICT COURT
                                        SOUTHERN DISTRICT OF GEORGIA
